         Case 2:24-cv-02484-DAD-SCR Document 8-1 Filed 11/13/24 Page 1 of 2


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                             UNITED STATES DISTRICT COURT
11
                            EASTERN DISTRICT OF CALIFORNIA
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13   JENNIFER CARRUTH,                     Case No.: 2:24-CV-02484-DAD-SCR
14                                         [PROPOSED] ORDER
                Plaintiff
15

16        vs.
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     KD CREATIVES, INC.,
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                Defendant.
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                                         ORDER
          Case 2:24-cv-02484-DAD-SCR Document 8-1 Filed 11/13/24 Page 2 of 2


 1         Without prejudice to any of the parties’ rights or defenses, Defendant KD
 2   Creatives, Inc.’s time to respond to the Complaint in this action shall be extended for 21
 3   days, until December 6, 2024.
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 5
     Dated:                                 ______________________________
                                            United States District Court Judge
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